        Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 1 of 22



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                                         Crim. No. 17-232 (EGS)
 MICHAEL T. FLYNN,

                            Defendant




   GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION TO COMPEL THE
  PRODUCTION OF BRADY MATERIAL AND FOR AN ORDER TO SHOW CAUSE


       On December 1, 2017, defendant Michael T. Flynn entered a plea of guilty to a single

count of knowingly and willfully making material false statements to the Federal Bureau of

Investigation (“FBI”) regarding his contacts with the Government of Russia’s Ambassador to the

United States (“Russian Ambassador”) during an interview with the FBI on January 24, 2017

(“January 24 interview”), in violation of 18 U.S.C. § 1001(a)(2). Prior to his guilty plea, the

government provided to the defendant information that could arguably be construed as

exculpatory to that offense. The defendant subsequently waived any right to additional

discovery, as part of his guilty plea. Thereafter, this case was reassigned to this Court, which

issued a Standing Order governing disclosures to the defendant. See Standing Order, United

States v. Flynn, No. 17-cr-232 (D.D.C. Feb. 16, 2018) (Doc. 20) (“Standing Order”).

Notwithstanding the defendant’s waiver, the government provided more than 22,000 pages of

additional discovery to the defendant. On December 18, 2018, the Court engaged in an

“extension … of the plea colloquy.” Hearing Transcript at 5, United States v. Flynn, No. 17-cr-

232 (D.D.C. Dec. 18, 2018) (“12/18/2018 Hearing Tr.”). During this inquiry, the defendant

specifically denied having “any concerns that potential Brady material or other relevant material”
        Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 2 of 22



had not been provided to him. Id. at 8. The Court found that the defendant’s earlier guilty plea

was entered “knowingly, voluntarily, intelligently, and with fulsome and satisfactory advice of

counsel.” Id. at 7.

       The defendant now files a motion to compel production of alleged Brady material and

requests that the Court issue an order to show cause why the government should not be held in

contempt for failing to comply with the Court’s Standing Order. In so doing, the defendant

misstates the facts of the case and misrepresents the nature and extent of the discovery that the

government has provided. The defendant likewise misapplies Brady v. Maryland, 373 U.S. 83

(1963), seeking information that goes well beyond what could be favorable and material to his

guilt or punishment. The defendant predicates much of his request on conspiracy theories,

demanding that the government engage in a fishing expedition for documents that could offer

support for those theories. Irrespective of whether such documents exist, a fact that the

government does not concede here, the defendant fails to establish that such information is

relevant—let alone favorable and material—in this criminal case.

       Prior to addressing each of the defendant’s requests in the body of this motion and

attached appendix (Appendix A), the government sets forth the scope of its disclosure

obligations, as appropriately cabined by the defendant’s relevant conduct and the Court’s

considerations at sentencing. Next, as relevant to the defendant’s requests and allegations of

misconduct, the government details the extent and nature of its discovery productions to the

defendant. As described herein, far from engaging in misconduct in this case, the government

has complied, and will continue to comply, with its discovery and disclosure obligations,

including those imposed pursuant to Brady and the Court’s Standing Order. Therefore, the

motion should be denied, and this case should proceed to sentencing.



                                                 2
        Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 3 of 22



                      BACKGROUND AND STATEMENT OF FACTS

A.     Summary of the Defendant’s Relevant Conduct

       The defendant’s sweeping Brady demand mischaracterizes what constitutes favorable and

material information in the context of the false statements charge to which the defendant has

pleaded guilty, and the aggravating conduct on which the government intends to rely at

sentencing. As described in the Statement of Offense, this case is about multiple false statements

that the defendant made to multiple Department of Justice entities. See Statement of Offense,

United States v. Flynn, No. 17-cr-232 (D.D.C. Dec. 1, 2017) (Doc. 4) (“SOF”). Specifically, the

defendant pleaded guilty to “willfully and knowingly” making material false statements about his

communications with the Russian Ambassador during an interview with the FBI on January 24,

2017. Information, United States v. Flynn, No. 17-cr-232 (D.D.C. Nov. 30, 2017) (Doc. 1). The

defendant’s false statements concerned (i) conversations with the Russian Ambassador beginning

on December 29, 2016, about the defendant’s request that Russia refrain from escalating the

situation in response to U.S. Sanctions against Russia; and (ii) conversations with the Russian

Ambassador beginning on December 22, 2016, regarding the defendant’s request that Russia

vote against or delay a United Nations Security Council resolution. See SOF at ¶ 3-4.

       In addition, in the Statement of Offense, the defendant admitted making other false

statements on multiple documents that he filed on March 7, 2017, with the Department of Justice

pursuant to the Foreign Agents Registration Act (“FARA”), which pertained to a project that he

and his company worked on, beginning in July 2016, for the principal benefit of the Republic of

Turkey. See SOF at ¶ 5. As the defendant acknowledged, in the filings he omitted the material

fact that officials from the Republic of Turkey provided supervision and direction over the

project, and made materially false statements. See id. Although the Information to which the

defendant pleaded guilty did not reference FARA, the conduct was included because of its
                                                3
        Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 4 of 22



relevance for sentencing, as described in the Statement of Offense, Presentence Investigation

Report, and in the parties’ sentencing submissions. See Government’s Memorandum in Aid of

Sentencing at 3-4, United States v. Flynn, No. 17-cr-232 (D.D.C. Dec. 4, 2018) (Doc. 46)

(“Gov’t Sent’g Memo”); Defendant’s Memorandum in Aid of Sentencing at 7, United States v.

Flynn, No. 17-cr-232 (D.D.C. Dec. 11, 2018) (Doc. 50) (“General Flynn does not take issue with

the description of the nature and circumstances of the offense contained in the Government’s

sentencing memorandum and the Presentence Investigation Report”).

       There is no other criminal conduct to which the defendant has admitted guilt or on which

the government intends to rely at sentencing. 1 This case does not involve, and the government

does not ask that the Court consider at sentencing, an allegation that the defendant was “an agent

of Russia.” See, e.g., Motion to Compel the Production of Brady Material and for an Order to

Show Cause at 2, 6 (Request ##18, 20), United States v. Flynn, 17-cr-232 (D.D.C. Aug. 30,

2019) (“Mot. to Compel”). It does not involve conduct or communications before July 2016.

See, e.g., Mot. to Compel at 4-6 (Request ##8, 15, 16, 27). It does not involve allegations that

the defendant always lied to the government about his foreign contacts. Cf., e.g., Mot. to

Compel at 2-3. It does not involve National Security Agency databases. See Flynn Brief in

Support of Motion to Compel Production of Brady Material and for an Order to Show Cause at

8, United States v. Flynn, 17-cr-232 (D.D.C. Aug. 30, 2019) (Doc. 109) (“Brief in Support”).

And it does not involve allegations about leaking classified information—by the defendant or

others. See, e.g., Mot. to Compel at 7 (Request #35); Brief in Support at 8.



1
        Based on filings and assertions made by the defendant’s new counsel, the government
anticipates that the defendant’s cooperation and candor with the government will be contested
issues for the Court to consider at sentencing. Accordingly, the government will provide the
defendant with the reports of his post-January 24, 2017 interviews. The government notes that
the defendant had counsel present at all such interviews.
                                                 4
        Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 5 of 22



B.     The Government Complied with Brady and the Standing Order, and Disclosed Arguably
       Exculpatory Information Before the Defendant Pleaded Guilty

       The defendant’s motion mischaracterizes what, how, and when discovery has been

provided, and the nature of that discovery. It ignores that the government provided arguably

exculpatory information to the defendant before his guilty plea on December 1, 2017, omits that

the defendant waived the right to additional discovery as part of that guilty plea, and avoids

mention that the defendant and his counsel represented to the Court—moments before he was

scheduled to be sentenced—that the government had satisfied its Brady obligations. As detailed

below, the government has fully complied with its disclosure obligations under Brady and the

Court’s Standing Order.

       Brady requires the government to disclose all evidence that is “favorable to an accused . .

. where the evidence is material either to guilt or punishment.” See, e.g., United States v. Bagley,

473 U.S. 667, 667 (1985). Before the defendant first pleaded guilty, the government provided

the defendant and his counsel information in its possession that could arguably be construed as

exculpatory—some of the very information that the defendant now claims is being withheld. In

late November 2017, the government provided the defendant with the FBI report for the

defendant’s January 24 interview. On November 30, 2017, before the defendant signed the plea

agreement, the government made additional disclosures. It disclosed that as part of the

Department of Justice (“DOJ”) Inspector General’s (“IG”) review of allegations regarding

actions by the DOJ and FBI in advance of the 2016 election, the IG identified electronic

communications of one of the agents who interviewed the defendant on January 24, 2017, former

Deputy Assistant Director (“DAD”) Peter Strzok, that showed a preference for one of the

candidates for President. The government further relayed to defense counsel that those

communications were part of the IG’s review, including the IG’s assessment as to whether those


                                                 5
        Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 6 of 22



communications constituted misconduct by DAD Strzok. Additionally, the government

informed defense counsel that DAD Strzok said that the defendant had a sure demeanor and did

not give any indicators of deception during the January 24 interview, and that both of the

interviewing agents had the impression at the time that the defendant was not lying or did not

think he was lying. In response to these disclosures, the government answered questions from

defense counsel.

       With all of this information, the defendant and his counsel signed the plea agreement on

November 30, 2017. In other words, before the defendant and his counsel signed the plea

agreement, they knew that that IG was investigating one of the interviewing agents for

misconduct, they knew that the interviewing agents believed the defendant did not give

indicators of deception during the interview, and they possessed the January 24 interview report.

The defendant and his counsel subsequently agreed to “waive certain rights afforded by the

Constitution of the United States and/or by statute or rule,” including “the right to any further

discovery or disclosures of information not already provided at the time of the entry of your

client’s guilty plea.” Plea Agreement at 6, United States v. Flynn, No. 17-cr-232 (D.D.C. Dec. 1,

2017) (Doc. 3) (“Plea Agmt”). The defendant also affirmed that “I am pleading guilty because I

am in fact guilty of the offense identified in this Agreement.” Id. at 10.

       On December 1, 2017, the defendant pleaded guilty before the Honorable Rudolph

Contreras, pursuant to the signed plea agreement. At the start of the hearing, Judge Contreras

explained to the defendant that as part of his plea he was “going to be giving up a number of

your rights, both statutory and constitutional, so it is critical that you understand everything that

goes on here because I have to determine at the end whether you have given up those rights

knowingly, voluntarily, and with the advice of your counsel.” Hearing Transcript at 3, United

States v. Flynn, 17-cr-232 (D.D.C. Dec. 1, 2017) (“12/1/2017 Hearing Tr.”); see also id. at 9
                                                  6
         Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 7 of 22



(“You would have the right to challenge the government’s case against you by seeking to have

the charges dismissed or having the evidence against you suppressed or thrown out. Do you

understand you would have that right if you did not waive them?”). The defendant was then

sworn in, and indicated that he wished to waive those rights. Id. at 3, 12. The defendant also

affirmed that he accepted and agreed to the terms of the plea agreement. Id. at 19. At the end of

the hearing, the defendant pleaded “[g]uilty,” because he is “guilty and for no other reason[.]”

Id. at 30.

        Following the defendant’s guilty plea before Judge Contreras, the case was randomly

reassigned to this Court, which entered an initial Standing Order. On February 16, 2018, the

Court entered a new Standing Order because the earlier order was a “prior version” that had been

inadvertently entered. See Standing Order. In its February 16 Order, the Court explained that it

entered the Standing Order because it does so “in every criminal case.” Id. The Standing Order

requires the government to produce “any evidence in its possession that is favorable to the

defendant and material to either the defendant’s guilt or punishment.” Standing Order at 2. With

respect to cases that are resolved pursuant to a guilty plea, such as this one, the Court ordered the

government to produce “any exculpatory evidence in the government’s possession.” Id. at 2-3.

That obligation does not extend to impeachment evidence. See id. at 3 n.1; United States v. Ruiz,

536 U.S. 622, 633 (2002) (government not required “to disclose material impeachment evidence

prior to entering a plea agreement with a criminal defendant”). 2


2
        While the government is not contesting the applicability of the Standing Order here, it
notes that “[c]riminal defendants may waive both constitutional and statutory rights, provided
they do so voluntarily and with knowledge of the nature and consequences of the waiver.”
United States v. Mabry, 536 F.3d 231, 236 (3d Cir. 2008) (citations omitted); accord United
States v. Guillen, 561 F.3d 527, 530 (D.C. Cir. 2009); see also Ruiz, 536 U.S. at 629-30 (2002)
(“A defendant, for example, may waive his right to remain silent, his right to a jury trial, or his
right to counsel ....”). See also United States v. Taylor, 254 F. Supp. 3d 145, 159-60 (D.D.C.
2017) (concluding that the defendant could not rescind his otherwise-enforceable waiver of a
                                                  7
        Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 8 of 22



        Five days after the Standing Order was issued, on February 21, 2018, the Court entered a

Protective Order Governing Discovery. United States v. Flynn, No. 17-cr-232 (D.D.C. Feb. 21,

2018) (Doc. 22). A few weeks later, on March 13, 2018, the government began its extensive

production of additional documents to the defendant. The government’s production of materials

comprises over 22,000 pages of documents, the overwhelming majority of which (over 21,000

pages) 3 pertain to the defendant’s false statements on his March 7, 2017 FARA filing. The

remainder are disclosures relating to the defendant’s false statements to the FBI on January 24,

2017.

        Contrary to defendant’s assertions, the government has provided and will continue to

provide all information in its possession favorable and material to guilt and punishment. The

government is not in possession of Brady evidence that we “have repeatedly failed to produce.”

Brief in Support at 3. Nor has the government “affirmatively suppressed evidence (hiding Brady

material).” Id. at 4. Remarkably, the supposed “suppressed” evidence cited by the defendant

concerns Strzok’s text messages with former FBI attorney Lisa Page. Id. at 12. The defendant’s

motion, however, conspicuously fails to mention that the government informed the defendant

about those text messages and their import on November 30, 2017, before the defendant signed

the plea agreement and before that information was publicly available. Later, the government

informed the defendant that it had learned that there were additional text messages that it did not

have at that time, and pledged to provide the defendant access to the messages when they

became available. When those new text messages became available, the government ensured the



right to further discovery where he had failed to demonstrate a valid reason to set aside his plea
agreement), appeal dismissed, No. 17-3055, 2018 WL 4099683 (D.C. Cir. July 23, 2018).
3
       Most of the over 21,000 pages are productions that the government received from
individuals connected to the defendant’s FARA filings.

                                                 8
        Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 9 of 22



defendant had access to them. And when the government later came in possession of still more

text messages, it provided text messages pertaining to the defendant that were not available to the

public. Accordingly, far from suppressing evidence, the government provided timely and

continuous information about the text messages—all of which the defendant and his counsel had

in their possession before the proceeding on December 18, 2018, at which the defendant

confirmed his guilty plea.

       The defendant’s complaints and accusations are even more incredible considering the

extensive efforts the government has made to respond to numerous defense counsel requests,

including to some of the very requests repeated in the defendant’s motion. For instance, the

defendant alleges that former FBI Deputy Director Andrew McCabe said, “‘First we f**k Flynn,

then we f**k Trump,’ or words to that effect;” and that Deputy Director McCabe pressured the

agents to change the January 24 interview report. See Mot. to Compel at 4, 6 (Request ##2, 22).

Defense counsel first raised these allegations to the government on January 29, 2018, sourcing it

to an email from a news reporter. Not only did the government inform defense counsel that it

had no information indicating that the allegations were true, it conducted additional due diligence

about this serious allegation. On February 2, 2018, the government disclosed to the defendant

and his counsel that its due diligence confirmed that the allegations were false, and referenced its

interview of the second interviewing agent, 4 who completely denied the allegations.

Furthermore, on March 13, 2018, the government provided the defendant with a sworn statement

from DAD Strzok, who also denied the allegations.

       Nevertheless, on July 17, 2018, the defense revived the same allegations. This time, the

defense claimed that the source was a staff member of the House Permanent Select Committee



4
       The name of the second interviewing agent remains under seal.
                                                 9
       Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 10 of 22



on Intelligence (“HPSCI”). The HPSCI staff member allegedly told the defendant that the

second interviewing agent had told the staff member that after a debrief from the interviewing

agents, Deputy Director McCabe said, “F**k Flynn.” Once again, the government reviewed

information and conducted interviews, and once again confirmed that the allegations were

completely false. And after defendant and his counsel raised the accusation for a third time, on

October 15, 2018, the government responded by producing interview reports that directly

contradicted the false allegations. Despite possessing all of this information, defense counsel has

again resurrected the false allegations, now for a fourth time. See Mot. to Compel at 4, 6

(Request ##2, 22).

       Tellingly, the defendant’s motion makes no mention of the defendant’s scheduled

sentencing hearing on December 18, 2018, which occurred after the government’s voluminous

production described above. That omission could be explained by the fact that the defendant and

his counsel indicated at that hearing that they did not believe that the government had failed to

provide Brady or helpful information. At the outset of the hearing, the Court indicated that it

needed to “first ask Mr. Flynn certain questions to ensure that he entered his guilty plea

knowingly, voluntarily, intelligently, and with fulsome and satisfactory advice of counsel.”

12/18/2018 Hearing Tr. at 7. The defendant was then sworn in, and answered a series of

questions from the Court. For instance, when asked by the Court, the defendant declined to

withdraw his plea based on the fact that DAD Strzok was being investigated for misconduct

(which the defendant knew before his initial guilty plea). Id. at 8-9. And when the Court asked

if the defendant had “any concerns that you entered your guilty plea before you or your attorneys

were able to review information that could have been helpful to your defense,” the defendant

responded, “No, Your Honor.” Id. at 8 (emphasis added). The defendant also declined the

Court’s invitation to speak with his attorneys in a private room about the Court’s questions or to
                                                10
            Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 11 of 22



have the Court appoint “an independent attorney to speak with [the] defendant, review the

defendant’s file, and conduct necessary research to render a second opinion for [the defendant].”

Id. at 9.

        The Court then asked specific questions of the defendant’s counsel about discovery. The

Court queried whether his counsel had “any concerns that potential Brady material or other

relevant material was not provided to you,” to which counsel responded, “No, Your Honor.” Id.

at 10. And when the Court questioned whether the defendant was “entitled to any additional

information that has not been provided to you,” counsel again responded, “No, Your Honor.” Id.

at 10-11. Only after the Court exhaustively questioned the defendant and his counsel about

discovery, did the Court ask the defendant if he would like to proceed to sentencing, “[b]ecause

you are guilty of this offense,” to which the defendant responded, “Yes, Your Honor.” Id. at 16.

        Even after the Court’s thorough inquiry into the voluntary nature of the defendant’s

guilty plea, the government has continued to produce information to the defendant and his

counsel beyond the scope of the Court’s Standing Order. When the government learned that

another government agency intended to produce to Congress documents pertaining to the

defendant, it provided 330 pages of those documents to the defendant as a courtesy. The

production largely consisted of the defendant’s questionnaires to obtain a security clearance and

Department of Defense directives, and included no new information that was relevant to the

defendant’s false statements to the FBI on January 24, 2017. 5

        Additionally, when the defendant’s counsel demanded a security clearance, the

government informed counsel about the Classified Information Procedures Act (“CIPA”) and



5
        The fact that the defendant passed a polygraph test in 2016, which the defendant and his
counsel highlight in their motion, is not relevant to the defendant’s false statements in this case,
all of which occurred after that test was administered. See Mot. to Compel at 3.
                                                 11
        Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 12 of 22



United States v. Yunis, 867 F.2d 617, 623-24 (D.C. Cir. 1989) (“classified information is not

discoverable on a mere showing of theoretical relevance . . . discovery in this context further

requires that a defendant . . . [demonstrate] that [it] is at least ‘helpful to the defense.’”), and

invited defense counsel to make a specific request for classified information pursuant to Yunis.

While the government was still awaiting a response to that email, defense counsel filed the

instant motion and requested that the government be held in contempt. See Brief in Support at 3.

        As the above history of discovery makes clear, far from engaging in misconduct in this

case, the government has gone above and beyond its obligations to comply with the Court’s

Standing Order and to respond to the defendant’s questions and requests. 6

                                            ARGUMENT

        Notwithstanding his valid and enforceable waiver of discovery, the defendant now seeks

49 additional categories of information, none of which he is entitled to under the law. As

described below, the majority of his requests are either irrelevant, or seek information that has

already been provided to him. Ultimately, the motion is a fishing expedition. See Mot. to

Compel at 9 (“The only way to achieve justice in this case is to provide transparency and full

disclosure of all information relevant to the defense of Mr. Flynn.”) (emphasis added); see also

Brief in Support at 13 n.15 (seeking access to a classified information that may be “relevant” to

the defendant). But Brady does not require an open file policy. See Kyles v. Whitley, 514 U.S.

419, 437 (1995) (“We have never held that the Constitution demands an open file policy

(however such a policy might work out in practice)”); United States v. Caro-Muniz, 406 F.3d 22,



6
        In separate filings, the defendant has alleged other instances of government misconduct
that likewise have no basis in fact. See, e.g., Supplemental Status Report, United States v. Flynn,
No. 17-cr-232 (D.D.C. Sept. 30, 2019) (Doc. 121). The government will respond to each such
allegation at the appropriate time.

                                                   12
        Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 13 of 22



29 (1st Cir. 2005) (“Brady does not permit a defendant to conduct an in camera fishing

expedition through the government’s files . . . .”); Kasi v. Angelone, 300 F.3d 487, 504 (4th Cir.

2002) (“Nor does the Brady right to obtain exculpatory evidence equate to a right to rummage

through governmental files.”). “Criminal discovery is not a game. It is integral to the quest for

truth and the fair adjudication of guilt or innocence.” Taylor v. Illinois, 484 U.S. 400, 419 (1988)

(Brennan, J., dissenting).

       To the extent the defendant’s request concerns information that is favorable and material

to his guilt or punishment, the government has already provided the requisite information. At

this point in the proceedings, the defendant’s guilt is not at issue. See, e.g., Status Conference

Transcript at 16, United States v. Flynn, 17-cr-232 (D.D.C. Sept. 10, 2019) (“9/10/2019 Status

Conf. Tr.”) (“I can’t say right now exactly where it’s headed, but I don’t think it’s going to be a

motion to withdraw the plea”). He has pleaded guilty before one federal judge, and affirmed his

guilty plea before a second federal judge (this Court). Accordingly, as the Court stated on

September 10, 2019, the operative question is whether the requests would produce information

helpful to the defendant’s punishment at sentencing. 9/10/2019 Status Conf. Tr. at 10 (“analysis

will focus on whether [the materials] are relevant and helpful with regard to Mr. Flynn’s

sentencing”). Once again, the government has provided, and will continue to provide, all such

information.

       A number of the defendant’s requests seek access to classified information that may or

may not exist. The discovery standard for classified information largely reflects the standard

imposed in the Standing Order—it must be helpful to the defense. The discovery of classified

information is governed by Section 4 of CIPA, 18 U.S.C., appx. III (2000). Although this

“Section creates no new rights of or limits on discovery of a specific area of classified

information . . . [,] it contemplates an application of the general law of discovery in criminal
                                                 13
        Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 14 of 22



cases to the classified information based on the sensitive nature of the classified information.”

Yunis, 867 F.2d at 621. Accordingly, to the extent that a defendant seeks documents and

information that are classified, the District of Columbia Circuit imposes an additional

requirement. Specifically, the court has held “that classified information is not discoverable on a

mere showing of theoretical relevance in the face of the government's classified information

privilege, but that the threshold for discovery in this context further requires that a defendant

seeking classified information . . . [demonstrate] that [it] is at least ‘helpful to the defense.’” Id.

at 623 (citation omitted).

I.      Material Requested by the Defendant That Is Favorable and Material to Punishment Has
        Been and Will Continue to be Produced
        As described above, the foundation for identifying Brady material is the defendant’s guilt

and punishment. See Standing Order at 2. With respect to guilt, the relevant criminal conduct

concerns the defendant’s false statements to the FBI on January 24, 2017. With respect to

punishment, the relevant criminal conduct includes the defendant’s false statements in his FARA

filings about the Turkey project. Additionally, information that undermines the defendant’s

knowing and willful state of mind when he made those false statements are pertinent to

punishment. With that foundation, the government below categorically addresses the

defendant’s requests. The government also attaches an appendix responding to each individual

request. See Appendix A. 7

        A majority of the defendant’s requests pertain to materials that are not relevant to his

false statements to the FBI on January 24, 2017, his false FARA filings about the Turkey project,

or other legitimate sentencing considerations. For example, numerous requests involve


7
        The government’s responses to the defendant’s requests are not intended to, and should
not be read to, concede the existence of such information in the government’s holdings or attest
to the veracity of the statements or allegations in the requests.
                                                   14
        Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 15 of 22



individuals who are not connected to the criminal case, such as Christopher Steele and Bruce

Ohr. The report from Steele does not involve allegations connected to the defendant’s criminal

conduct; it contains allegations that occurred before the defendant ever spoke with the Russian

Ambassador in December 2016. Similarly, the defendant’s requests for information pertaining to

whether he was an agent of Russia are irrelevant. See, e.g., Mot. to Compel 5-6 (Request ##18,

20). The defendant is not charged with being an agent of Russia and the government has never

alleged in this case that he was an agent of Russia. His criminal conduct pertains to false

statements about his communications with Russian officials, not his affiliation with that country.

Nevertheless, even if the allegation were relevant, the government has already provided the

defendant with information in discovery that would undermine the contention that he was an

agent of Russia.

       Many of the requests pertain to information in interview reports about meetings or

discussions that occurred before or after the January 24 interview. In particular, some requests

concern discussions at the FBI about conducting the interview, see, e.g., Mot. to Compel at 5-9

(Request ##18, a., b., i.), and debriefs from the interviewing agents that occurred after the

interview, see, e.g., id. (Request ##19, a., c., d., e., f.). The government has already provided the

defendant with relevant information about those discussions and debriefs. Those disclosures

include interview reports of DAD Strzok and the second interviewing agent, a memorandum

from Deputy Director McCabe describing his call with the defendant on January 24, 2017, and

interview summaries of persons who participated in the discussions or debriefs. 8 The


8
         As previously communicated to the Court and raised by the defendant as an issue for the
first time, in some instances the government provided summaries of interviews, rather than the
interview reports themselves. See Brief in Support at 13. Many of those interview reports
contain privileged material, including classified information. Additionally, the majority of the
interview reports are either not relevant to this case or could not reasonably be construed as
favorable and material to the defendant’s guilt or punishment. Information in those reports that
                                                 15
       Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 16 of 22



government also communicated to the defendant on November 30, 2017, before he signed the

plea agreement, that DAD Strzok said that the defendant had a sure demeanor and did not give

any indicators of deception during the interview, and that both interviewing agents had the

impression at the time that the defendant was not lying or did not think he was lying. The

documents provided by the government also show that the FBI asked the defendant for

permission to conduct the interview, informed the defendant about the topic of the interview,

interviewed the defendant in his own office, and afforded him multiple opportunities to correct

his false statements by revisiting key questions. See Memorandum of Andrew McCabe dated

January 24, 2017 (Doc. 56-1); FD-302 of Peter Strzok dated July 19, 2017 (Doc. 56-2).

       While the government has thus already provided discovery relating to these requests for

information about meetings or discussions that occurred before or after the January 24 interview,

they are not—either collectively or individually—favorable and material to the defendant’s

sentencing. Whether or not the FBI or DOJ contacted members of the White House before the

defendant’s January 24 interview has no bearing on whether the defendant lied to the agents

during that interview. Nor do any communications that the FBI or DOJ had with members of the

White House after the interview, since by then the crime had already occurred.

       Multiple requests pertain to the text messages between DAD Strzok and Page. See, e.g.,

Mot. to Compel at 4-7 (Request ##6, 9, 10, 30, 31). As described in detail above, the

government informed the defendant about the text messages and their import before he signed

the plea agreement on November 30, 2017, including the fact that one of the agents, DAD

Strzok, was under investigation for misconduct because of those text messages. The government


could reasonably be construed as favorable and material to the defendant’s guilt or punishment
has been provided to the defendant in the form of summaries. Those summaries were provided
to the Court on December 14, 2018; at that same time, the government provided the full
interview reports to the court for in camera review.
                                               16
       Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 17 of 22



has subsequently provided the defendant with access to the text messages, to the extent that they

could reasonably be considered favorable and material to his sentencing. The text messages,

however, are not exculpatory; they are impeaching of DAD Strzok. Moreover, both interviewing

agents have been clear, since the beginning and in their documentation, that the defendant made

false statements to them on January 24, 2017, about multiple topics.

       Some of the remaining requests appear to be a blanket request for information, untethered

on their face to any exculpatory information. See, e.g., Mot. to Compel at 5-7 (Request ##9, 24,

26, 27, 33, 34, 36). Other requests pertain to information that does not exist. See, e.g., Mot to.

Compel at 4-5 (Request ##5, 11). Where possible, the government has attempted to respond to

the requests by assuming that they are intended to obtain exculpatory information among the

listed materials, to the extent such materials exist. For all such requests, the government is not

aware of any information that would be favorable and material to the defendant at sentencing. 9



9
        The defendant’s requested relief, that the government be held in civil contempt, must be
denied because the defendant has failed to demonstrate through clear and convincing evidence
that the government failed to comply with the Court’s Standing Order.
         “[C]ourts have the inherent power to enforce compliance with their lawful orders through
civil contempt.” Shillitani v. United States, 384 U.S. 364, 370 (1966). The civil contempt power
“is essential to the enforcement of the judgments, orders, and writs of the courts, and
consequently to the due administration of justice.” Broderick v. Donaldson, 437 F.3d 1226,
1234 (D.C. Cir. 2006) (citation and quotation omitted). As the party moving for a civil contempt
finding, the defendant bears the initial burden of demonstrating by clear and convincing evidence
that: (1) there was a clear and unambiguous court order in place; (2) that order required certain
conduct by the government; and (3) the government failed to comply with that order. See Int'l
Painters & Allied Trades Indus. Pension Fund v. ZAK Architectural Metal & Glass LLC, 736
F.Supp.2d 35, 38 (D.D.C. 2010) (citing Armstrong v. Exec. Office of the President, 1 F.3d 1274,
1289 (D.C. Cir. 1993); SEC v. Bilzerian, 112 F.Supp.2d 12, 16 (D.D.C. 2000)). “‘In the context
of civil contempt, the clear and convincing standard requires a quantum of proof adequate to
demonstrate a reasonable certainty that a violation occurred.’” Phillips v. Mabus, 894 F.Supp.2d
71, 91 (D.D.C. 2012) (quoting Breen v. Tucker, 821 F.Supp.2d 375, 383 (D.D.C. 2011)).
      The defendant has failed to meet his burden. As detailed here, the defendant has not even
demonstrated that the government failed to comply with the Court’s Standing Order, let alone
                                                 17
        Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 18 of 22



II.    The Defendant’s Objective Is Dismissal of this Case, Not to Identify Information that
       Would Be Favorable and Material to His Sentencing
       Finally, it bears emphasis that the defendant’s filings—although captioned as a motion to

compel production of Brady material—are in fact an effort by the defendant to have his case

dismissed. Since the beginning of their involvement, the defendant’s new counsel have sought to

get the charges dropped, professed their client’s actual innocence, and perpetuated conspiracy

theories, all while stating that the defendant does not intend to withdraw his guilty plea.

Certainly, true and credible Brady violations in a case could justify sanctions and other remedies,

to include dismissal. In this case, however, nothing could be further from the truth.

       From the beginning, the defendant’s new counsel have sought to get the charges against

the defendant dropped. His new counsel’s first outreach to the government was an effort to get

the Department of Justice to dismiss the case. Before even entering an appearance in the case,

new counsel sent a letter to the Attorney General and Deputy Attorney General requesting that

the Attorney General “dismiss the prosecution of General Flynn” and remove the prosecutors

from the case. See 6/6/2019 Defense Counsel Letter to the Attorney General at 2 (“June 6

Letter”) (Attachment 1). Defense counsel then made some of the same discovery requests that

they made in the instant motion. Despite recently professing to the Court that they still need “a

significant amount of time” to complete their review of information, see Joint Status Report,

United States v. Flynn, No. 17-cr-232 (D.D.C. Aug. 30, 2019) (Doc. 107), defendant’s new

counsel needed no time to request that the case be dismissed and the prosecutors removed.

Defense counsel did not need to complete their review of the facts to make their request, because




that any such non-compliance was clear and convincing. The government has made every effort
to comply with the Court’s Standing Order, tendering more than 22,000 pages of material,
including material directly in response to the defendant’s questions. Accordingly, the
defendant’s request should be summarily denied.
                                                 18
        Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 19 of 22



their request did not rely on facts. With the same set of facts in December 2018, the defendant

and his former counsel represented to the Court that they did not believe any other helpful

information needed to be produced. See 12/18/2018 Hearing Tr. at 8-9. Confirming that the

defendant and his new counsel are in search of a result, not the facts, defense counsel was

recently interviewed on television and exclaimed, “I’m expecting, frankly, that we find evidence

that warrants dismissal of the case for egregious government misconduct.” Interview by Lou

Dobbs Tonight with Sidney Powell, Fox Bus. (Aug. 30, 2019),

https://video.foxbusiness.com/v/6081729582001/#sp=show-clips at 6:09. Defense counsel made

the same admission to the Court at the Status Conference on September 10, 2019. See 9/10/2019

Status Conf. Tr. at 16 (“To show that the entire prosecution should be dismissed for egregious

government misconduct and long-time suppression of Brady material.”)

       Lest there be any doubt about the defendant and his counsel’s objective, the Court need

only read the first page of their Brief in Support, which references an article, “Why Innocent

People Plead Guilty.” Brief in Support at 1 n.1; see also id. at 7 n.9 (“Mr. Flynn may also have

other defenses that prior counsel did not explore.”). In that same Fox Business interview,

defense counsel protested that the defendant, “I believe, from everything I’ve seen now, should

be completely exonerated.” Interview by Lou Dobbs Tonight with Sidney Powell, Fox Bus.

(Aug. 30, 2019), https://video.foxbusiness.com/v/6081729582001/#sp=show-clips at 6:50. All

this despite the fact that the defendant has twice admitted his guilt, before two federal judges.

       Relatedly, the defendant’s arguments are premised on conspiracy theories. See, e.g., June

6 Letter at 3 (“[I]t is increasingly apparent that General Flynn was targeted and taken out of the

Trump administration for concocted and political purposes”); Brief in Support at 2 (“While

prosecutors routinely recite their full knowledge of and compliance with their Brady obligations,



                                                 19
        Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 20 of 22



in truth they often scoff at them and continue to play games to win convictions at all costs”). 10

The motion’s most frequent target is the Special Counsel’s Office. For example, the defendant

and his counsel allege that the Special Counsel’s Office manipulated or controlled the press. See

Brief in Support at 4; June 6 Letter at 5-6 (“The General’s plea was heavily manipulated while

Brady evidence was suppressed, and the press was complicit”). The claim is divorced from facts

and reality. The motion even attacks attorneys in the Special Counsel’s Office who had no role

in the criminal investigation of the defendant. See Brief in Support at 4. Similarly, the defendant

spends more time citing irrelevant cases, such as Ted Stevens and Adam Lovinger, than

reviewing the facts of this case. See id. at 2, 6, 7, 9, 10, 14-16. The defendant even alleges that

there have been “egregious” Fourth Amendment violations, 11 but makes a list of claims

unconnected to this case or the evidence on which the government relies. Id. at 8.




10
       Tellingly, one of the defendant’s requests was suggested by the aforementioned HPSCI
staff member, “to get it out there on Fox.” See Email from Barbara Ledeen to Robert Kelner
(Dec. 13, 2018, 12:21 AM EST), “Re: From Derek Harvey from HIPSI [sic]” (Attachment 2);
Mot. to Compel at 5 (Request #13).
11
        Unsurprisingly, the defendant’s discussion of the Fourth Amendment makes no mention
of the defendant’s plea agreement, where the defendant waived the right “to challenge the
admissibility of evidence offered against [him],” Plea Agmt at 6, or Judge Contreras’ warning to
the same effect during the defendant’s first guilty plea. 12/1/2017 Hearing Tr. at 9 (“You would
have the right to challenge the government’s case against you by seeking to have the charges
dismissed or having the evidence against you suppressed or thrown out. Do you understand you
would have that right if you did not waive them?”).

                                                 20
       Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 21 of 22



                                        CONCLUSION
       The defendant’s motion is not a search for Brady material. It is a fishing expedition in

hopes of advancing conspiracy theories related to the U.S. government’s investigation into

Russian interference in the 2016 presidential election. The government has already provided any

evidence that could reasonably be construed as favorable and material for the defendant at

sentencing. Accordingly, the motion should be denied.



                                                    Respectfully submitted,

                                                    JESSIE K. LIU
                                                    United States Attorney
                                                    D.C. Bar No. 472845

                                                    By:            /s/

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Dated: October 1, 2019




                                               21
       Case 1:17-cr-00232-EGS Document 122 Filed 10/01/19 Page 22 of 22



                            CERTIFICATE OF SERVICE

        I, Brandon L. Van Grack, certify that I caused to be served a copy of the foregoing by
electronic means on counsel of record for the defendant on October 1, 2019.




                                                    /s/
                                           Brandon L. Van Grack
                                           950 Pennsylvania Ave., NW
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                                           Attorney for the United States of America




                                             22
Case 1:17-cr-00232-EGS Document 122-1 Filed 10/01/19 Page 1 of 7




        APPENDIX A
        Case 1:17-cr-00232-EGS Document 122-1 Filed 10/01/19 Page 2 of 7



       Below are the government’s specific responses to each request. Where possible, the

government has attempted to respond to the requests by assuming that they are intended to obtain

exculpatory information among the listed materials, to the extent such materials exist. The

government’s responses are not intended to, and should not be read to, indicate that any

requested information exists within the government’s holdings.

   •   Request #1: Not relevant. The government is not aware of information that Christopher
       Steele provided that is relevant to the defendant’s false statements to the Federal Bureau
       of Investigation (“FBI”) on January 24, 2017, or to his punishment.

   •   Request #2: Already provided. The government has already provided responsive
       information to the defendant, including the January 24 interview report, all drafts of the
       interview report, and the handwritten notes of the interviewing agents. The government
       has also provided to the defendant reports of interviews with the second interviewing
       agent, who attests to the accuracy of the final January 24 interview report.

   •   Request #3: Not relevant. The government is not aware of any information that Nellie
       Ohr may have provided that is relevant to the defendant’s false statements to the FBI on
       January 24, 2017, or to his punishment. The government’s response includes
       consideration of the defendant’s September 23, 2019 amendment.

   •   Request #4: Not relevant. The government is not aware of information relating to the
       listed persons that is relevant to the defendant’s false statements to the FBI on January
       24, 2017, or to his punishment. The government’s response includes consideration of the
       defendant’s September 23, 2019 amendment.

   •   Request #5: Item does not exist. The reference in the Report of the Special Counsel on
       Russian Interference in the 2016 Election (“Special Counsel Report”) to an interview of
       the defendant dated January 19, 2017, is a typographical error. It should read “January
       19, 2018,” which is an interview of the defendant at which the defendant’s counsel were
       present.

   •   Request #6: Already provided. The government has already provided the defendant with
       access to text messages between former FBI attorney Lisa Page and former FBI Deputy
       Assistant Director (“DAD”) Peter Strzok, including text messages pertaining to the
       defendant that are not publicly available.

   •   Request #7: Already provided. The government has already provided any information
       that could reasonably be construed as favorable and material to sentencing.


                                                1
    Case 1:17-cr-00232-EGS Document 122-1 Filed 10/01/19 Page 3 of 7




•   Request #8: Not relevant. The topic is not relevant to the defendant’s false statements to
    the FBI on January 24, 2017, or to his punishment. The government’s response includes
    consideration of the defendant’s September 23, 2019 amendment.

•   Request #9: Already provided. The government has already provided the defendant with
    access to any text messages between Page and DAD Strzok that could reasonably be
    construed as favorable and material to sentencing.

•   Request #10: Already provided. The government has already provided the defendant with
    access to text messages between Page and DAD Strzok that could reasonably be
    construed as favorable and material to the sentencing. The government’s production to
    the defendant on March 13, 2018, occurred shortly after the Court issued the Protective
    Order Governing Discovery, United States v. Flynn, 17-cr-232 (D.D.C. Feb. 21, 2018)
    (Doc. 22), and over eight months before the defendant reaffirmed his guilt before this
    Court.

•   Request #11: Not relevant. The topic is unrelated to the defendant’s false statements to
    the FBI on January 24, 2017, or to his punishment.

•   Request #12: Already provided/not relevant. The government has already provided any
    information from interview reports of former FBI Director James Comey that could
    reasonably be construed as favorable and material to sentencing.

•   Request #13: To the extent the defendant is referring to Director Comey’s congressional
    testimony after he was fired, the government does not possess unredacted copies of such
    testimony that is not publicly available.

•   Request #14: Already provided. The government has already provided any information
    from the interview of Director Comey dated November 15, 2017, that could reasonably
    be construed as favorable and material to sentencing.

•   Request #15: The government is not aware of any information in possession of the
    Defense Intelligence Agency that is favorable and material to sentencing, including the
    information that the government provided on August 16, 2019. Specifically, the
    information of which the government is aware, including that August 16 production, is
    either inculpatory or has no relevance to the defendant’s false statements to the FBI on
    January 24, 2017, or to the FARA Unit.

•   Request #16: Not relevant. The topic is unrelated to the defendant’s false statements to
    the FBI on January 24, 2017, or to his punishment. The government appreciates the
    correction included in the defendant’s September 23, 2019 amendment.


                                             2
    Case 1:17-cr-00232-EGS Document 122-1 Filed 10/01/19 Page 4 of 7



•   Request #17: Not relevant. Any briefings or meetings that occurred after January 24,
    2017, among the listed individuals are not relevant to whether defendant made false
    statements to the FBI on January 24, 2017, or to his punishment.

•   Request #18: Already provided. The government has already provided the defendant with
    information from former National Security Division Acting Assistant Attorney General
    Mary McCord’s interview report that could reasonably be construed as favorable and
    material to sentencing.

•   Request #19: Already provided. The government has already provided the defendant with
    information from former Department of Justice (“DOJ”) Deputy Attorney General Sally
    Yates’ interview report that could reasonably be construed as favorable and material to
    sentencing. The meetings Deputy Attorney General Yates had with persons in the White
    House after the January 24 interview are not relevant to whether defendant made false
    statements to the FBI on January 24, 2017, or to his punishment. The government has
    already provided the defendant with all drafts in its possession of the January 24
    interview.

•   Request #20: Already provided/not relevant. The government has already provided the
    defendant with information from the internal DOJ document about the defendant not
    being “an agent of Russia.” That information, however, is not relevant to whether
    defendant made false statements to the FBI on January 24, 2017. The defendant is not
    charged with and has not been accused by the government in this case of being “an agent
    of Russia.”

•   Request #21: Not relevant. The government is not aware of information that Department
    of State Deputy Assistant Secretary Kathleen Kavalec may have provided that is relevant
    to the defendant’s false statements to the FBI on January 24, 2017, or to his punishment.

•   Request #22: Already provided. The government has already provided extensive
    evidence to the defendant disproving this allegation, including statements from both
    interviewing agents. The government is not aware of evidence that former FBI Deputy
    Director Andrew McCabe said “First we f**k Flynn, then we f**k Trump,” or words to
    that effect.

•   Request #23: Not relevant. The topic is unrelated to the defendant’s false statements to
    the FBI on January 24, 2017, or to his punishment.

•   Request #24: The request is overly broad, and does not pertain to information that would
    be favorable and material to sentencing.




                                            3
    Case 1:17-cr-00232-EGS Document 122-1 Filed 10/01/19 Page 5 of 7



•   Request #25: Not relevant. The government is not aware of information relating to DOJ
    attorney Bruce Ohr that is relevant to the defendant’s false statements to the FBI on
    January 24, 2017, or to his punishment.

•   Request #26: The request is overly broad, and does not pertain to information that would
    be favorable and material to sentencing.

•   Request #27: The request is overly broad, and does not pertain to information that would
    be favorable and material to sentencing.

•   Request #28: Not relevant. The request is unrelated to the defendant’s false statements to
    the FBI on January 24, 2017, or to his punishment.

•   Request #29: As described in the Special Counsel Report, after the defendant pleaded
    guilty on December 1, 2017, former Deputy National Security Advisor K.T. McFarland
    stated in an interview that the defendant relayed to her that he had conversations with the
    Russian Ambassador in December 2016, about which the defendant made false
    statements to the FBI on January 24, 2017. See SPECIAL COUNSEL ROBERT S. MUELLER
    III, REPORT ON THE INVESTIGATION INTO RUSSIAN INTERFERENCE IN THE 2016
    PRESIDENTIAL ELECTION (Mar. 2019) (“Special Counsel Report”), Vol. I. at 169-73.

•   Request #30: Not relevant. The topic is unrelated to the defendant’s false statements to
    the FBI on January 24, 2017, or to his punishment.

•   Request #31: Not relevant. The request is unrelated to the defendant’s false statements to
    the FBI on January 24, 2017, or to his punishment.

•   Request #32: Not helpful. Whether or not such information exists, it does not pertain to
    information that would be favorable and material to sentencing.

•   Request #33: Already provided. The government has already provided the defendant
    with all Brady material; it is not obligated to provide Giglio material pursuant to the
    Court’s Standing Order, United States v. Flynn, 17-cr-232 (D.D.C. Feb. 16, 2018) (Doc.
    20).

•   Request #34: Not helpful. Whether or not such information exists, it does not pertain to
    information that would be favorable and material to sentencing.

•   Request #35: Not relevant. Former Director of National Intelligence James Clapper had
    no role in the criminal investigation of the defendant, and the government is not aware of
    information relating to Director Clapper that is relevant to the defendant’s false
    statements to the FBI on January 24, 2017, or to his punishment.


                                             4
    Case 1:17-cr-00232-EGS Document 122-1 Filed 10/01/19 Page 6 of 7




•   Request #36: Not helpful. The request does not pertain to information that would be
    favorable and material to sentencing. The government also notes that the Special
    Counsel Report states that the Acting Attorney General confirmed, in memoranda, the
    Special Counsel’s authority to investigate the defendant. See Special Counsel Report,
    Vol. I at 11-12.

•   Request #37: Not relevant/not helpful. The request is unrelated to the defendant’s false
    statements to the FBI on January 24, 2017, or to his punishment.

•   Request #38. Not helpful. The government is not aware of information from Jim
    Woolsey that would be favorable and material to sentencing.

•   Request #39: The first part of the request concerns internal, deliberative Department of
    Justice communications that are not discoverable. As for notes of the interactions
    between the Department of Justice and the defendant’s counsel, defendant’s counsel
    participated in those interactions and possess their own notes.

•   Request #40: Not helpful. The government has already provided the defendant with the
    interviewing agents’ handwritten notes of the January 24 interview. The limited
    redactions of those notes do not refer to information that would be favorable and material
    to sentencing.

•   Request a.: Already provided. The government has already provided any information
    from interviews with Deputy Director McCabe that could reasonably be construed as
    favorable and material to sentencing.

•   Request b.: Already provided/not helpful. As discussed above, debriefings/meetings that
    occurred before the January 24 interview are not favorable and material to sentencing for
    making false statements to the FBI on January 24, 2017. Nevertheless, the government
    has already provided to the defendant any information that could reasonably be construed
    as favorable and material to sentencing about such pre-interview discussions, including
    the language quoted in the request.

•   Request c.: Already provided/not helpful. The government has already provided any
    information about such post-interview debriefings that could reasonably be construed as
    favorable and material to sentencing.

•   Request d.: Already provided. The government has already provided any information
    from former Principle Associate Deputy Attorney General Matthew Axelrod’s interview
    report that could reasonably be construed as favorable and material to sentencing.



                                             5
    Case 1:17-cr-00232-EGS Document 122-1 Filed 10/01/19 Page 7 of 7



•   Request e.: Already provided. The government has already provided any information
    from Acting Assistant Attorney General McCord’s interview report that could reasonably
    be construed as favorable and material to sentencing, including the information quoted in
    the request.

•   Request f.: Already provided. The government has already provided any information
    from Deputy Attorney General Yates’ interview report that could reasonably be
    construed as favorable and material to sentencing, including the information quoted in the
    request.

•   Request g.: The requested information pertains to information that is inculpatory, and not
    helpful to the defendant. As the government communicated to the defendant on May 25,
    2018, the Special Counsel’s Office (“SCO”) conducted interviews and reviewed
    documents that referenced statements the defendant made to White House and transition
    officials about the defendant’s conversations with the Russian Ambassador. That
    investigative activity yielded information consistent with the defendant’s publicly
    reported statements and his statements to the SCO, in which the defendant initially denied
    having discussed sanctions with the Russian Ambassador. Those are the same denials
    that the defendant made to the FBI on January 24, 2017. After February 8, 2017,
    however, the defendant stated that he could not be certain that sanctions never came up in
    his conversations with the Russian Ambassador.

•   Request h.: Already provided/not helpful. The government had previously provided
    information from the interview reports of the listed persons pertaining to the defendant’s
    desire to register “the right way” with the DOJ. The only listed person who made such a
    statement was Brian McCauley; the quoted language in the request comes from a
    government disclosure about McCauley. That prior disclosure is consistent with
    McCauley’s public testimony at trial in United States v. Rafiekian, 18-457 (E.D. Va. July
    23, 2019), as well as interviews conducted by prosecutors in the Eastern District of
    Virginia. To the government’s knowledge, McCauley is the only listed person who
    indicated that the defendant expressed a desire to register “the right way.” The
    government, however, has not accused the defendant of willfully failing to register under
    FARA. Rather, the defendant willfully made false statements and omissions in his
    FARA filings.

•   Request i.: Already provided/not helpful. The government has already provided any
    information from the interview of Director Comey dated November 15, 2017, that could
    reasonably be construed as favorable and material to sentencing.




                                             6
Case 1:17-cr-00232-EGS Document 122-2 Filed 10/01/19 Page 1 of 10




  ATTACHMENT 1
Case 1:17-cr-00232-EGS Document 122-2 Filed 10/01/19 Page 2 of 10
Case 1:17-cr-00232-EGS Document 122-2 Filed 10/01/19 Page 3 of 10
Case 1:17-cr-00232-EGS Document 122-2 Filed 10/01/19 Page 4 of 10
Case 1:17-cr-00232-EGS Document 122-2 Filed 10/01/19 Page 5 of 10
Case 1:17-cr-00232-EGS Document 122-2 Filed 10/01/19 Page 6 of 10
Case 1:17-cr-00232-EGS Document 122-2 Filed 10/01/19 Page 7 of 10
Case 1:17-cr-00232-EGS Document 122-2 Filed 10/01/19 Page 8 of 10
Case 1:17-cr-00232-EGS Document 122-2 Filed 10/01/19 Page 9 of 10
Case 1:17-cr-00232-EGS Document 122-2 Filed 10/01/19 Page 10 of 10
Case 1:17-cr-00232-EGS Document 122-3 Filed 10/01/19 Page 1 of 2




  ATTACHMENT 2
         Case 1:17-cr-00232-EGS Document 122-3 Filed 10/01/19 Page 2 of 2


From:                Kelner, Robert
To:                  BVG; ZNA
Cc:                  Anthony, Stephen; Langton, Alexandra
Subject:             FW: From Derek Harvey from HIPSI
Date:                Thursday, December 13, 2018 8:54:14 AM


Brandon and Zainab:

I received this email overnight from Barbara Ledeen. We are not responding to it. In keeping
with General Flynn's obligations under his cooperation agreement, we are producing this to
you, as it appears to be another message from Derek Harvey. Thank you.

Rob


Robert Kelner
Covington & Burling LLP
One CityCenter, 850 Tenth Street, NW
Washington, DC 20001-4956




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intended recipient, please immediately advise the sender by reply e-mail that this message has been inadvertently
transmitted to you and delete this e-mail from your system. Thank you for your cooperation.



From: Barbara Ledeen <
Sent: Thursday, December 13, 2018 12:21 AM
To: Kelner, Robert
Subject: From Derek Harvey from HIPSI

Judge needs to ask for Comey and Strzok transcripts. I would hope the Judge would ask for
Comey and Strzok transcripts from HPSCI to show they thought he did not lie. Nunes says
judge probably won’t but he wanted to get it out there on Fox tonight.
